        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 1 of 22



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA                                CRIMINAL NO. 03-331-CKK

                v.

 WALDEMAR LORENZANA LIMA,
     a/k/a Valdemar Lorenzana-Lima
     a/k/a “Don Valde,”


                          Defendant.



              GOVERNMENT’S MOTION TO PROCEED UNDER 18 U.S.C. § 4244

       The United States respectfully submits that controlling statutory provision regarding the

current competency hearing should be governed by 18 U.S.C. § 4244 based on the procedural

posture of the case. The statutory text and context clearly indicate that this provision applies.

Secondly, the legislative history further supports that this provision should be applied. Lastly,

there is no due process violation from applying this provision in this case.

I.     PROCEDURAL HISTORY

       On March 10, 2009, a federal grand jury returned an Indictment against the Defendant

Waldemar LORENZANA-LIMA, also known as “Valdemar Lorenzana-Lima” or “Don Valde,”

(hereinafter “LORENZANA-LIMA” or “Defendant”) charging that, from in or around 1996 and

continuing thereafter up to and including 2009, from the countries of Colombia, El Salvador,

Guatemala, and Mexico, and elsewhere, the Defendant conspired with others to commit the

following offenses against the United States: (1) to unlawfully, knowingly and intentionally

import five kilograms or more of a mixture and substance containing a detectable amount of

                                                 1
          Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 2 of 22



cocaine into the United States; and (2) to knowingly and intentionally manufacture and distribute

five kilograms or more of a mixture and substance containing a detectable amount of cocaine, a

Schedule II controlled substance, intending and knowing that such substance would be

unlawfully imported into the United States, all in violation of 21 U.S.C. §§ 952, 959, 960, 963,

and 960(b)(1)(B)(ii) and 18 U.S.C. § 2.

         On August 18, 2014, the Defendant pleaded guilty to conspiracy to import five hundred

(500) grams or more of cocaine into the United States, and to manufacture and distribute five

hundred (500) grams or more of cocaine, intending and knowing that the cocaine will be

unlawfully imported into the United States, all in violation 21 U.S.C. §§ 952, 959, 960 and 963,

the lesser included offense and penalty provision of 21 U.S.C. § 960(b)(2) in Count One of the

Third Superseding Indictment.

         On January 12, 2015, the Court set a sentencing hearing for March 24, 2015 and set a

briefing schedule for the parties to file their sentencing memorandums. On January 22, 2015, the

Court ordered that Dr. Teresa Grant conduct a preliminary psychiatric examination of the

Defendant and provide a written report to the Court. 1

         On February 18, 2015, the Court received Dr. Grant’s written report which stated that Dr.

Grant was unable to form an opinion as to the Defendant’s competency. Additionally, the report

recommended that a further evaluation be conducted. On February 26, 2015, the Court ordered a

further competency evaluation be conducted at FCI Butner pursuant to 18 U.S.C. §§ 4241 and

4247. The evaluation period commenced on March 10, 2015, and on April 14, 2015, Dr. Manuel




1
         As there was an ex parte proceeding, it is unclear to the Government if this was at the request of defense
counsel or sua sponte from the Court.

                                                          2
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 3 of 22



Gutierrez submitted a forensic evaluation to the Court determining that the Defendant suffers

from a mental disease or defect that renders him incompetent.

       On April 22, 2015, the Court conducted a status hearing. During the status hearing the

Government explained that 18 U.S.C. § 4244 (and not 18 U.S.C. § 4241) should be the

controlling statutory provision based on the procedural posture of the case. The Court requested

that the Government brief the issue, and set a briefing schedule for the parties. The Court

ordered the Government to submit its brief by 5:00 p.m. on April 23, 2015 and defense counsel

to submit their brief by 5:00 p.m. on April 24, 2015. The Court further scheduled a hearing for

April 27, 2015 to determine the Defendant’s competency.

II.    THE STATUTORY PROVISIONS AND THE GOVERNMENT’S PROPOSED
       PROCEDURE

       A.      The Applicable Statute is 18 U.S.C. § 4244

       Chapter 313 of the United States Code, codified at 18 U.S.C. §§ 4241-4248, sets forth the

procedural provisions applicable to offenders suffering from a mental disease or defect. Section

4241 provides procedures applicable “[a]t any time after the commencement of a prosecution for

an offense and prior to the sentencing of the defendant...” 18 U.S.C. § 4241(a). Section 4244

provides procedures for “a defendant found guilty of an offense ... and prior to the time the

defendant is sentenced.” 18 U.S.C. § 4244(a). Although the two sections appear to overlap,

Section 4241 has been interpreted to apply in the pre-conviction context, where the issue is the

defendant’s competency to stand trial or enter a guilty plea. See United States v. Strong, 489 F.3d

1055, 1057 (9th Cir. 2007); United States v. Sahhar, 917 F.2d 1197, 2100 (9th Cir. 1990). Section

4244, on the other hand, applies in the post-conviction context, where competency issues arise




                                                3
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 4 of 22



after a defendant has entered a guilty plea or been found guilty following trial. See Weber v.

United States District Court for the Central District of California, 9 F.3d 76, 78 (9th Cir. 1993).

       Both Sections 4241 and 4244 provide substantially the same procedures that are to be

followed by the Court when the issue of the defendant’s mental competency is raised. Both

sections provide that a motion to determine competency may be made by counsel for the defense

or the United States or on the Court’s own initiative. 18 U.S.C. §§ 4241(a), 4244(a). Both sections

provide that a hearing shall be conducted pursuant to the provisions of 18 U.S.C. § 4247(d). 18

U.S.C. §§ 4241(c), 4244(c). Both sections state that prior to the hearing, the Court may order that

a psychiatric or psychological exam be conducted and that a report be provided to the Court

pursuant to the provisions of 18 U.S.C. §§ 4247(b) and (c). 18 U.S.C. §§ 4241(b), 4244(b). Section

4247(b) states that the Court may commit the person to the custody of the Attorney General for

the examination. Section 4247(c) outlines the information to be provided in the report to the Court.

The same information is to be included in a report issued pursuant to either Section 4241 or 4244,

with the exception that a report issued pursuant to Section 4241 shall also include an opinion on

whether the defendant can understand the nature of the proceedings against him and assist properly

in his defense, while a report issued pursuant to Section 4244 shall include an opinion on whether

the defendant is “in need of custody for care or treatment in a suitable facility.” 18 U.S.C. §

4247(c)(4)(A) and (E). Thus, with the exception of the additional information to be provided in

the psychological report, the two sections outline identical procedures.

       The two sections differ, however, in what the Court is to do once a finding of mental disease

or defect has been made. Under Section 4241, the Court must determine by a preponderance of

the evidence whether the defendant’s mental disease or defect renders him unable to understand

the nature and consequences of the proceedings against him or to assist properly in his defense. 18

                                                  4
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 5 of 22



U.S.C. § 4241(d). If such a finding is made, the Court shall commit the defendant to the custody

of the Attorney General for treatment in a suitable facility for a reasonable period of time until the

defendant regains the capacity to proceed with the case. 18 U.S.C. § 4241(d)(1) & (2). If it appears

that the defendant’s condition will not improve within a reasonable period of time to allow the

case proceed, the defendant is subject to the procedures of 18 U.S.C. § 4246 or 4248, under which

he may be committed upon a finding that he poses a substantial risk of danger to the person or

property of another. 18 U.S.C. §§ 4246(d), 4248(d).2

       Under Section 4244, the Court must only determine whether the defendant, in lieu of

imprisonment, should be sentenced to a “suitable facility” for care a treatment. 18 U.S.C. §

4244(d). If the Court finds that treatment is necessary in lieu of imprisonment, the Court orders

that the defendant be committed to the custody of the Attorney General, who hospitalizes the

defendant in suitable facility. Id. This step “constitutes a provisional sentence of imprisonment

to the maximum term authorized by law for the offense for which the defendant was found guilty.”

Id. If the director of the facility to which the defendant is committed determines that the defendant

has recovered from the mental disease or defect and is no longer in need of care or treatment, the

director notifies the Court, and, if the provisional sentence has not expired, the Court “shall proceed

finally to sentencing and may modify the provisional sentence.” 18 U.S.C. § 4244(e); Moses, 106

F.3d at 1277.

       B.       The Procedures Outlined in 18 U.S.C. § 4244(d)

       Under Section 4244(d), the Court should first determine by a preponderance of the

evidence whether the defendant suffers from a mental disease or defect. Assuming that the Court

finds the Defendant incompetent at the conclusion of the hearing on April 27, 2015, the Court next

should determine whether, “in lieu of being sentence to imprisonment, [the defendant should] be

                                                  5
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 6 of 22



committed to a suitable facility for care or treatment.” 18 U.S.C. § 4244(d). See United States v.

Buker, 902 F.2d 769, 770 (9th Cir. 1990) (“We hold that section 4244(d) requires a district court

to find both that a defendant suffers from a mental disease or defect and that the defendant should

be committed to a suitable facility in lieu of imprisonment.”) (emphasis in the original). The Court

may request the opinion of Dr. Gutierrez, who have already conducted an examination of the

defendant, whether he believes that commitment to such a facility would be appropriate, or, in the

alternative, if commitment is not appropriate, what sentencing alternatives could best afford the

defendant the treatment he needs. 18 U.S.C. § 4244(b), 4247(c)(4)(E). If the Court determines

that the defendant should be so committed, the Attorney General will take custody of the defendant

for a provisional sentence of 40 years, the statutory maximum for the offenses of which the

defendant has been found guilty. Id.; see United States v. Roberts, 915 F.2d 889, 891-92 (4th Cir.

1990), accord United States v. Mann, 130 F.3d 1365, 1367 (9th Cir. 1997), opinion withdrawn as

moot at 138 F.3d 758 (9th Cir. 1998); but see Moses, 106 F.3d at 1275 n.1 (finding the maximum

term of imprisonment is total length of time defendant may be imprisoned when sentences for

multiple offenses are run consecutively). If the director of the facility to which the defendant is

committed determines that the defendant no longer requires care or treatment, the defendant will

be returned to the Court to impose a final sentence. 18 U.S.C. § 4244(e). See Roberts, 915 F.2d at

892. On the other hand, if the Court determines that commitment to an appropriate facility for care

or treatment is not necessary, the Court may proceed to sentence the defendant in accordance with

18 U.S.C. § 3553(a). See Buker, 902 F.2d at 769 (“We conclude that section 4244(d) permits the

district court to sentence a defendant to imprisonment notwithstanding a finding that the defendant

suffers from a metal defect or disease.”). As part of such sentence, the Court may recommend that

the defendant serve any term of imprisonment at a facility appropriate to his needs. Id. at 770.

                                                 6
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 7 of 22



III.   18 U.S.C. § 4244 SHOULD BE APPLIED IN THIS CASE

       The plain language of 18 U.S.C. § 4244 is the governing provision in this case based on

the procedural posture. Section 4244 applies to all defendants who are mentally ill at the time of

sentencing, whether or not their mental illness renders them legally incompetent. As the Defendant

has plead guilty and is convicted, pending sentencing, Section 4244 controls. Indeed, the statutory

scheme establishes different procedures for mentally ill defendants at the various stages of the

criminal process, beginning with assessing trial competency (§ 4241), providing for an insanity

defense and the hospitalization of a defendant acquitted on that ground (§§ 4242 and 4243),

hospitalizing a mentally ill defendant following conviction (§§ 4244 and 4245), and committing a

mentally ill and dangerous individual due for release (§ 4246). The titles of the various sections

and the text of Section 4241 before it was amended to conform to other provisions in the Adam

Walsh Child Protection and Safety Act of 2006 also demonstrate that 18 U.S.C. § 4241 (Section

4241) applies to competency at trial. The legislative history similarly supports that interpretation.

       Additionally, unlike a presumptively innocent defendant whose commitment for a

determination of mental incompetency must be limited to “a reasonable period of time,” see

Jackson v. Indiana, 406 U.S. 715, 738 (1972), a convicted defendant may be held for the duration

of a permissible sentence. Indeed, the Defendant was advised of the statutory maximum sentence

both in the plea agreement that was translated to him and during the guilty plea hearing. If the

Court were to proceed under Section 4241, a convicted but incompetent defendant is treated as

indistinguishable from an incompetent defendant whose guilt has not yet been proved. As a result,

the convicted but incompetent defendant is unconditionally released without any means of

proceeding to sentencing should his competency be restored. Further, Section 4244’s provisional



                                                 7
          Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 8 of 22



sentence provisions, ensure against the possibility that a convicted defendant who is mentally ill

would also be incompetent to face sentencing. 2

        A.       The Statutory Text and Context Indicate That Section 4241 Applies to
                 Defendants Who Are Incompetent to Stand Trial and Section 4244 Applies to
                 Convicted Defendants Who Are Incompetent to Be Sentenced

        The text of 18 U.S.C. § 4244 expressly trains on “[a] defendant found guilty of an offense,”

and authorizes a psychiatric examination and hearing when the defendant “may presently be

suffering from a mental disease or defect for the treatment of which he is in need of custody for

care or treatment in a suitable facility.” Although Section 4244 does not explicitly provide for

determinations of competency, it does not exclude them either.

        Under established rules of statutory construction, “in ascertaining a statute’s plain meaning,

we must look to the particular statutory language at issue, as well as the language and design of

the statute as a whole.” National Recycling Coalition, Inc. v. Reilly, 884 F.2d 1431, 1435 (D.C.

Cir. 1989); Nadarajah v. Gonzales, 443 F.3d 1069, 1076 (9th Cir. 2006) (internal quotation marks

omitted). See also, e.g., United States v. Cruz-Gramajo, 570 F.3d 1162, 1167 (9th Cir.) (“While

the “starting point is always the language of the statute itself, … the structure and purpose of a

statute may also provide guidance in determining the plain meaning of its provisions.”) (internal

quotation marks and citations omitted), cert. denied, 130 S. Ct. 646 (2009); Koons Buick Pontiac

GMC, Inc. v. Nigh, 543 U.S. 50, 60 (2004) (“A provision that may seem ambiguous in isolation

is often clarified by the remainder of the statutory scheme … because only one of the permissible


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         We are aware of no case in which a court has released a convicted defendant who was mentally
incompetent to proceed to sentencing pursuant to Section 4241(d)(2). Even in United States v. Morris, infra, which
applied Section 4241, the Court did not order the defendant’s release because the defendant’s competency was
restored following his initial commitment for treatment and the court was able to proceed to sentencing. 550 F.
Supp. 2d 1290 (M.D. Ala. April 22, 2009) (finding defendant’s competency “restored” after further evaluation
results were “strongly indicative of malingering”).

                                                         8
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 9 of 22



meanings produces a substantive effect that is compatible with the rest of the law.”) (internal

quotation marks and citation omitted).

       The structure of the statutory scheme as a whole demonstrates that Congress intended

Section 4241 to apply to determinations of competency to stand trial (or competency to undergo

post-release proceedings) and Section 4244 to apply to mentally ill defendants, including

incompetent ones, following conviction. The series of statutes at issue, 18 U.S.C. §§ 4241-4247,

establishes procedures for a mentally ill defendant as he progresses through the criminal justice

system. The series moves from competence to stand trial (§ 4241), to the insanity defense at trial

(§ 4242); to hospitalization for defendants found not guilty by reason of insanity (§ 4243), to

hospitalization for defendants found guilty but who are determined to be mentally ill before

sentencing (§ 4244), to hospitalization for defendants who become mentally ill during a term of

imprisonment (§ 4245), to civil commitment for mentally ill prisoners due for release (§ 4246).

Thus, it makes sense to interpret the language in Section 4241(a) as authorizing a hearing on trial

competency when reasonable cause to believe that the defendant is incompetent develops after the

verdict but before sentencing. Cf. United States v. No Runner, 590 F.3d 962, 964-965 (9th Cir.

2009) (“[T]he question of competency remains open throughout the trial, and may be raised by the

defendant, or by the court, at any time. As the Supreme Court has explained, ‘[e]ven when a

defendant is competent at the commencement of his trial, a trial court must always be alert to

circumstances suggesting a change that would render the accused unable to meet the standards of

competence to stand trial.’ ”) (quoting Drope v. Missouri, 420 U.S. 162, 181 (1975)).

       Other factors reinforce the structural inference that, once guilt has been determined,

Section 4244 applies. First, the titles explicitly say so. See Almendarez-Torres v. United States,

523 U.S. 224, 234 (1998) (“[T]he title of a statute and the heading of a section are tools available

                                                 9
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 10 of 22



for the resolution of a doubt about the meaning of a statute.” (citation and internal quotation marks

omitted)); United States v. Nader, 542 F.3d 713, 717 (9th Cir. 2008) (“Titles are also an appropriate

source from which to discern legislative intent.”), cert. denied, 129 S. Ct. 1984 (2009). Indeed,

Section 4241 is entitled “Determination of mental competency to stand trial [or] to undergo

postrelease proceedings,” while Section 4244 is entitled “Hospitalization of a convicted person

suffering from a mental disease or defect.” The text of Section 4241, before it was amended for

an unrelated reason by Title III of the Adam Walsh Child Protection and Safety Act of 2006, Pub.

L. No. 109-248, 120 Stat. 617, 8 makes the point even more clearly. See Addendum 9-10. Prior

to 2006, the title of the section was simply “Determination of mental competency to stand trial.”

The phrase “capacity to permit the proceedings to go forward” used throughout the current version

of Section 4241 previously read “capacity to permit the trial to proceed.” As relevant here, Section

4241(d)(1) provided for a four-month commitment to determine whether the defendant “will attain

the capacity to permit the trial to proceed,” and Section 4241(d)(2) permitted an additional

commitment “if the court finds that there is a substantial probability that within such additional

period of time he will attain the capacity to permit the trial to proceed.” Additionally, under that

subsection, the defendant was subject to the provisions of Section 4246 “[i]f at the end of the time

period specified, it is determined that the defendant’s mental condition had not so improved as to

permit the trial to proceed.”

       The duration of the commitment periods in Sections 4241 and 4244 also correspond to the

differing liberty interests of the pretrial and convicted defendant. Section 4241(d)(1) provides that

a defendant may be committed for a “reasonable period of time, not to exceed four months, as is

necessary to determine whether there is a substantial probability that in the foreseeable future he

will attain the capacity to permit the proceedings to go forward,” and Section 4241(d)(2)(A)

                                                 10
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 11 of 22



permits a reasonable extension “if the court finds that there is a substantial probability” that within

that time the defendant will become competent. Those provisions comport with the Supreme

Court’s holding in Jackson v. Indiana, 406 U.S. 715 (1972), that “a person charged by a State with

a criminal offense who is committed solely on account of his incapacity to proceed to trial cannot

be held more than the reasonable period of time necessary to determine whether there is a

substantial probability that he will attain that capacity in the foreseeable future.” Id. at 738. See

United States v. Strong, 489 F.3d 1055, 1061-1062 (9th Cir. 2007) (concluding that Section 4241

“comports with Jackson’s constitutional mandate” by limiting the duration of the pretrial

defendant’s commitment and requiring a close fit between the commitment and the purpose for

which it was designed), cert. denied, 128 S. Ct. 1218 (2008).

       On the other hand, due process does not mandate those same temporal restrictions on the

commitment of a convicted defendant. See District Attorney’s Office for Third Judicial Dist. v.

Osborne, 129 S. Ct. 2308, 2320 (2009) (“A criminal defendant proved guilty after a fair trial does

not have the same liberty interests as a free man.”); Jones v. United States, 463 U.S. 354, 365 n.12

(1983) (“The proof beyond a reasonable doubt that the acquittee committed a criminal act

distinguishes this case [involving the commitment of a defendant found not guilty by reason of

insanity] from Jackson v. Indiana, 406 U.S. 715 (1972). …. In Jackson there never was any

affirmative proof that the accused had committed criminal acts …”); United States v. DeLuca,

529 F. Supp. 351, 354 (S.D.N.Y. 1982) (noting, in the case of a convicted but unsentenced

defendant, that “the situation at issue in Jackson … was entirely different from the one at bar”

because “this Court is not faced with a situation involving ‘denial of due process inherent in

holding pending criminal charges indefinitely over the head of one who will never have a chance

to prove his innocence.’ ”) (quoting Jackson, 406 U.S. at 740). See also Foucha v. Louisiana, 504

                                                  11
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 12 of 22



U.S. 71, 93 (1992) (Kennedy, J., dissenting) (“We have often subjected to heightened due process

scrutiny, with regard to both purpose and duration, deprivations of physical liberty imposed before

a judgment is rendered under this standard [beyond a reasonable doubt]. The same heightened

due process scrutiny does not obtain, though, once the State has met its burden of proof and

obtained an adjudication.”). Section 4244 accommodates a convicted defendant’s lesser liberty

interests and the government’s legitimate interest in confinement by authorizing commitment for

a period no longer than the maximum sentence possible for the offense of conviction. Cf. Jones,

463 U.S. at 369 n.19 (“The Court has held that a convicted prisoner may be treated involuntarily

for particular psychiatric problems, but that upon expiration of his prison sentence he may be

committed only as would any other candidate for civil commitment.”); Humphrey v. Cady, 405

U.S. 504, 510-511 (1972) (approving in dicta the government’s authority to commit a defendant

for psychiatric treatment as an alternative to penal sentencing for the duration of the maximum

permissible sentence).

       Proceeding under Section 4241 also leads to results that Congress could not have intended.

See, e.g., EEOC v. Commercial Office Products Co., 486 U.S. 107, 120 (1988) (a court should

avoid “absurd or futile results … plainly at variance with the policy of the legislation as a whole”)

(internal quotation marks omitted). The unmistakable purpose of Section 4244 is to hospitalize

rather than imprison the convicted defendant who is mentally ill. Under Section 4241, however,

the convicted defendant whose mental illness is so severe that it also renders him incompetent

receives no such care or treatment. Moreover, the use of Section 4241 presumes that Congress

equated incompetent, convicted defendants with incompetent, presumptively innocent individuals,

rather than with mentally ill, convicted defendants. The concomitant effect of proceeding under



                                                 12
       Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 13 of 22



4241 is that the incompetent defendant is unconditionally released (unless civilly committed under

Section 4246) with no possibility of being sentencing, even if his competence is restored.

       Additionally, Section 4244’s provisional sentencing provisions should be taken into

account. Under Section 4241, there is no reason to avoid final sentencing in favor of a provisional

sentence. The district court could lawfully sentence the competent defendant and then commit

him to serve as much of that term as necessary in a mental facility in lieu of prison. Indeed, the

application of Section 4244 largely superfluous since the provisions in Section 4245, which apply

to offenders who require treatment for mental illness during their term of imprisonment, would

lead to the same result. See, e.g., Chickasaw Nation v. United States, 534 U.S. 84, 93 (2001) (“The

Court has often said that every clause and word of a statute should, if possible, be given effect.”)

(internal quotation marks and citations omitted); United States v. Leon H., 365 F.3d 750, 753 (9th

Cir. 2004) (“We avoid statutory interpretations that render entire sections of the statute

superfluous.”).

       Finally, a holding that Section 4241(d)(2) applies would encourage a mentally ill defendant

to refuse medication or malinger in the hope that he could escape sentencing and imprisonment or

commitment. In contrast, a defendant may be less likely to engage in those actions if he knew that

they could lead to a provisional sentence that is far longer than the actual sentence he would

otherwise receive. Cf. United States v. Wolfson, 616 F. Supp. 2d 398, 421 (S.D.N.Y. 2008) (noting

that “there is little incentive for the defendant to falsify delusions for purposes of sentencing”

because the court’s finding of mental disease or defects under Section 4244 results in a provisional

sentence to the maximum statutory term of imprisonment).




                                                13
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 14 of 22



   B. The Case Law Does Not Dictate The Application of Section 4241

       The Courts of Appeals that have chosen one provision over the other have done so in dicta

and without justifying their particular choice or analyzing whether the release provisions in Section

4241(d)(2) apply to convicted defendants. See, e.g., United States v. Pellerito, 878 F.2d 1535,

1544 (1st Cir. 1989) (discussing Section 4241 in relation to competency at sentencing without

mentioning Section 4244); United States v. Quintieri, 306 F.3d 1217, 1232-1233 (2d Cir. 2002)

(same). Others have noted the overlap and considered both. See, e.g., United States v. Clark, 114

Fed. Appx. 239, 244 (7th Cir. 2004) (“In the interest of completeness, we analyze Clark’s claims

under both § 4241 and § 4244.”); United States v. Barth, 28 F.3d 253 (2d Cir. 1994) (analyzing

jurisdictional question under both Section 4241 and Section 4244). And the Fourth and Seventh

Circuits have taken both positions. Compare United States v. Baldovinos, 434 F.3d 233, 242 (4th

Cir. 2006) (“If we were to vacate Baldovinos’s sentence, and if he is presently incompetent to be

sentenced, he could be provisionally sentenced to Butner or a similar institution pursuant to 18

U.S.C. § 4244(d).”); United States v. General, 278 F.3d 389, 396-97 (4th Cir. 2002) (“Our analysis

of General’s challenge to his competency to be sentenced is governed by 18 U.S.C.A. § 4244.”);

United States v. Mason, 52 F.3d 1286, 1288 n.2 (4th Cir. 1995) (“Section 4244 concerns a

defendant’s competence to be sentenced, whereas § 4241 relates to competence to stand trial.”),

with United States v. Roberts, 915 F.2d 889, 891-92 (4th Cir. 1990) (“Section 4241 applies to

defendants found to be mentally incompetent to stand trial. Section 4244 applies to competent

persons found to be suffering from a mental disease prior to sentencing.”). Compare also United

States v. Ewing, 494 F.3d 607, 614 (7th Cir. 2007) (“When a defendant is found incompetent to

stand for sentencing, he is committed for treatment and provisionally sentenced to the maximum

term authorized by the offense. 18 U.S.C. § 4244(d).”), with Clark, 114 Fed. Appx. at 243

                                                 14
       Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 15 of 22



(“Although Clark cites to § 4244, which concerns the imposition of a provisional sentence where

mental health treatment is needed, Clark argues on appeal that the district court erred in denying

his request for a competency hearing because he was unable to properly assist in his defense at the

sentencing hearing. Thus, while citing § 4244, Clark frames his argument on appeal in the terms

of 18 U.S.C. § 4241.”), and United States v. Garrett, 903 F.2d 1105, 1115 (7th Cir. 1990) (“As the

statutory language [of Section 4241] suggests, the need for competency also extends beyond trial

to the sentencing phase of a proceeding.”).

       District courts have similarly relied on one or other of the provisions or both. See, e.g.,

United States v. Askari, 159 F.3d 774, 776 (3d Cir. 1998) (noting that the district court found that

the defendant was not mentally competent to be sentenced and committed him to a hospital for

treatment under Section 4244(d)); United States v. Sanchez, 38 F. Supp. 2d 355, 364-365 (D. N.J.

1999) (stating that “Section 4244(d) of Title 18 of the United States Code governs determinations

of a convicted person’s competency to be sentenced”); Wolfson, 616 F. Supp. 2d at 401

(concluding that “the defendant is currently incompetent to be sentenced and therefore should be

committed to the custody of the Attorney General for care and treatment pursuant to 18 U.S.C. §

4244 until such time as he has recovered so that he can be sentenced.”); United States v. Gigante,

996 F. Supp. 194, 198 (E.D.N.Y. 1998) (concluding that Section 4241 applies to the determination

of competency to be sentenced).        Additionally, an authoritative treatise agrees with the

government’s position that “the procedures in such a case [where competency at sentencing is at

issue] are governed by a separate statutory provision, 18 U.S.C.A. § 4244.” 1A Charles Alan

Wright, et al., Federal Practice and Procedure § 208 (3d ed. 2004).

       In United States v. Morris, 550 F. Supp. 2d 1290 (M.D. Ala. 2008), the Court found that

Section 4244 applies only to mentally ill but competent defendants and that Section 4241(d)

                                                15
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 16 of 22



applies to defendants who are mentally incompetent to be sentenced. That court, in turn, relied on

Roberts, supra, which held that a provisional sentence under Section 4244(d) “to the maximum

term authorized by law” means the statutory maximum rather than the maximum under the

Sentencing Guidelines.      In rejecting the defendant’s equal protection challenge to that

interpretation of the statute, the Roberts court noted that defendants subject to Sections 4241, 4244,

and 4245 are not similarly situated; it described Section 4241 as applying to defendants “found to

be mentally incompetent to stand trial” and Section 4244 as applying to “competent persons found

to be suffering from a mental disease prior to sentencing.” Roberts, 915 F.2d at 891. Roberts

offered no support for that interpretation of Section 4244. Nor did it state that that the converse

also was true, namely, that Section 4241 applies to persons incompetent to be sentenced and

Section 4244 does not. Moreover, as noted above, the Fourth Circuit’s subsequent decisions have

not followed the Roberts dicta. See pages 28-29 supra.

       Additionally, Gigante, supra, did not settle the issue. In Gigante, the district court held that

the competency standard in Dusky v. United States, 362 U.S. 402 (1960), applies in the sentencing

context. Gigante, 996 F. Supp. at 196-199. But the court did not hold that a convicted defendant

who meets the incompetency standard as defined in Section 4241 must be released (if not subject

to civil commitment under Section 4246), and its observation that a mentally infirm defendant may

be provisionally sentenced under Section 4244, id. at 198-199, does not mean that a defendant

whose mental illness also renders him incompetent may not be provisionally sentenced. See

Sanchez, 38 F. Supp. 2d at 367-368, 371-372 (applying the competency standard in Section 4241

to conclude that Sanchez, a convicted defendant, was “presently suffering from a mental disease

or defect” under Section 4244 and provisionally sentencing him to commitment for a period of ten

years (the statutory maximum)).

                                                 16
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 17 of 22



       In United States v. Chaudhry, 646 F.Supp.2d 1140 (N.D. Cal. 2009), the Court held that

Section 4241 applies when evaluating a defendant’s competency to proceed to sentencing, whereas

Section 4244 applies when sentencing a competent defendant suffering from a mental disease or

defect. Id. at 1149. Unlike other courts, the Court in Chaudhry attempted to analyze which of the

two sections applied to an incompetent defendant at the sentencing stage. However, Chaudhry is

not controlling and is unpersuasive.

          Although the Court in Chaudhry claims to review the "legislative history & statutory

scheme," id. at 1148, this review is cursory and contradictory. While citing language in the

legislative history that clearly states that Section 4241 deals "exclusively with the determination

of the mental competency of the defendant to stand trial,” id., and that Section 4244 applies to

"convicted persons who are mentally ill," id., the district court inexplicably concludes that the

"legislative history is ambiguous." Id. Similarly, instead of analyzing the structure of the statute,

which clearly applies different procedures at different stages of the criminal prosecution, the

district court's "structural analysis" consists of merely dismissing without explanation the fact that

the titles of the subsections support the government's argument. Id.

       Furthermore, the Court in Chaudhry cites cases such as Pellerito, supra, and Garrett, supra,

to support its position that Section 4241 applies to a convicted defendant who is found incompetent

prior to sentencing, but ignores the fact that in neither case was the question presented whether it

was appropriate to proceed under Section 4241 or Section 4244 in a post-conviction

proceeding. Id. at 1147.     While citing these cases as supporting its position, the district court

failed to take into consideration similar cases where courts approved the application of Section

4244 in the post-conviction, pre-sentencing context. For example, in United States v. Moses, 106

F.3d 1273 (6th Cir. 1997) and Weber v. United States District Court for the Central District of

                                                 17
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 18 of 22



California, 9 F.3d 76 (9th Cir. 1997), the lower courts provisionally sentenced defendants with

mental issues pursuant to Section 4244 without addressing the issue of competency. Thus, as to

the critical issue in this case, there is no support in the case law to dictate compliance with Section

4241.

        C.     The Legislative History Supports Imposition of Section 4244

        The legislative history of the Insanity Defense Reform Act of 1984 (“IDRA”), Pub. L. No.

98-473, Tit. II, § 403(a), 98 Stat. 2057-2065 (18 U.S.C. §§ 4241-4247) supports the government’s

position that the procedures in Section 4244 apply. Prior to the enactment of the IDRA, three

statutes established procedures for determining the competency of a defendant (consistently

referred to as “the accused”) to stand trial: Section 4244 set forth the procedures for determining

competency to stand trial when the issue was raised before sentencing; Section 4245 established a

post-conviction procedure for determining trial competency when the issue of competence was not

disclosed at trial; and Section 4246 provided for the defendant’s commitment to the custody of the

Attorney General whenever the trial court found the accused “is or was” mentally incompetent

under Section 4244 or 4245 “until the accused shall be mentally competent to stand trial or until

the pending charges against him are disposed of according to law.” Section 4241 provided for the

hospitalization of imprisoned inmates who were alleged to be “insane or of unsound mind or

otherwise defective” until they were “restored to sanity or health or until the maximum sentence

was served.” See Addendum 11-13.

        Nothing in the legislative history of that Act supports the view that the discharge provisions

in Section 4241(d)(2) apply to convicted defendants who become incompetent after trial and before

sentencing. The Senate Report recommending passage of the IDRA explained that proposed

Section 4241 “contains six subsections which deal exclusively with the determination of the mental

                                                  18
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 19 of 22



competency of the defendant to stand trial” and “tracks, with some modifications, Sections 4244,

4245, and 4246 of title 18 as they now exist.” S. Rep. No. 98-225, 98th Cong., 2d Sess. 233 (1983)

(hereinafter “Senate Report” or “Report”) (emphasis added). The Report also stated “that the

procedures for determining the mental competency of the defendant to stand trial are also to apply

to the issue of the defendant’s competency to enter a plea,” ibid., but it did not include sentencing

in its explanation of the statute’s scope.

        Other sections of the Senate Report similarly described the proposed legislation as

pertaining to the defendant’s competency to stand trial. See, e.g., Senate Report at 233 (“The court

must order a hearing upon its own motion, or on the motion of the government or the defense, if

there is reasonable cause to believe that the defendant is presently incompetent to stand trial.”); id.

at 236 (“[C]ommitment under section 4241 may only be for a reasonable period of time necessary

to determine if there exists a substantial probability that the person will attain the capacity to permit

the trial to go forward in the foreseeable future.”); id. at 236-237 (“If, at, or before the end of the

four-month period or the extension, it is determined that the defendant’s mental condition will not

so improve or has not so improved as to permit the trial to proceed, the defendant is made subject

to the provisions of section 4246 dealing with hospitalization of a person due for release but

suffering from a mental disease or defect.”); id. at 237 (“If the court finds by a preponderance of

the evidence adduced at the hearing that the defendant has recovered to the extent that he is

competent to stand trial, the court must order the release of the defendant from the facility in which

he is hospitalized and set a date for the trial of the defendant or for the next stage in the criminal

proceeding against the defendant.”); ibid. (“A defendant ordered released after a hearing pursuant

to this subsection [Subsection (d)] is subject to the pretrial release provisions of chapter 207.”); id.

at 238 (“If, after the [Section 4241(e)] hearing, the court finds by a preponderance of the evidence

                                                   19
        Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 20 of 22



that the defendant [is competent], the court must order the release of the defendant from the facility

in which he is hospitalized, determine whether he should be released or detained pursuant to

chapter 207 pending trial, and set the date for trial of the defendant.”).

       Like its predecessor, Section 4241 permits the parties to file a motion for a competency

hearing “prior to the imposition of sentence on the defendant,” id. at 234, which, as the Report

explained, “has been judicially construed to include the time … after trial,” id. at 234 n.43. In

support, the Report cited United States v. Lawrenson, 210 F. Supp. 422 (D. Md. 1962), in which

the district court agreed that “the question of the defendant’s competency to stand trial may be

raised after the trial upon a proper showing.” Id. at 429.

       On the issue of hospitalization, the Report noted that, while existing procedure provided

for “hospitalization, in lieu of imprisonment” for mentally ill inmates, “none exists … at the earlier

stage contemplated by section 4244.” Senate Report at 245 & n.85. The purpose of Section 4244

was “to assist the court in determining the proper facility for commitment of a convicted

defendant,” to benefit the convicted defendant “who is mentally ill and who needs hospitalization,”

and to benefit society “not only by protecting the public from mentally ill convicted defendants

but also by treating and hopefully curing such a person.” Ibid. Although the Report did not address

competency issues in this section, that silence cannot be read as evidence that Congress intended

to exempt convicted, albeit incompetent, defendants from Section 4244’s coverage. To the

contrary, if Congress intended to authorize the release of that subset of convicted and mentally ill

defendants, when existing law had not done so, it surely would have made that intention explicit.

See Edmonds v. Compagnie Generale Transatlantique, 443 U.S. 256, 266-67 (1979) (“This silence

[in legislative history] is most eloquent, for such reticence while contemplating an important and



                                                  20
       Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 21 of 22



controversial change in existing law is unlikely… At the very least, one would expect some hint

of a purpose to work such a change, but there was none.”).

       There is no reason to believe that Congress intended to single out incompetent convicted

defendants by supplanting the hospitalization provisions in Section 4244(d) with the release

provisions in Section 4241(d)(2) for that group. Congress’s stated purpose in enacting Section

4244 of “protecting the public from mentally ill convicted defendants,” Senate Report at 245,

further demonstrates that that section applies to all recently convicted defendants, including those

whose mental illness renders them incompetent.

IV.    CONCULSION

       For the foregoing reasons, the Government respectfully requests that the Court conduct

further proceedings in the above-captioned case pursuant to 18 U.S.C. § 4244.

                                                     Respectfully Submitted,

                                                     ARTHUR G. WYATT, Chief
                                                     Narcotic and Dangerous Drug Section
                                                     Criminal Division
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                                              By:    /s/ Amanda N. Liskamm

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                                                21
       Case 1:03-cr-00331-CKK Document 555 Filed 04/23/15 Page 22 of 22



                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was sent via the CM/ECF system, to counsel
of record for the Defendant, this 23rd day of April 2015.

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